Case 19-12706-KCF         Doc 30    Filed 01/28/20 Entered 01/28/20 14:08:06          Desc Main
                                   Document      Page 1 of 3



 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)
 RAS Crane LLC
 Attorneys for Secured Creditor
 10700 Abbott’s Bridge Rd., Suite 170
 Duluth, GA 30097
 Telephone No.: 973-575-0707 (local)
 Telephone No.: 561-241-6901 (main)



                                                               Case No.:     19-12706-MBK
 In Re:
                                                               Chapter:       13
 David G Delaplain,
       Debtor,                                                 Hearing Date: February 26, 2020
 Laura Lee Delaplain
 fka Laura Lee Van Orman,                                      Judge:         Michael B. Kaplan

          Joint Debtor.

  NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY and CO-DEBTOR
                               STAY

                                 HEARING DATE AND TIME:
                                 February 26, 2020 at 9:00 a.m.

                  ORAL ARGUMENT IS REQUESTED IN THE EVENT
                         OPPOSITION IS TIMELY FILED
TO:

 Debtor(s)-               Debtors’ Attorney-       Trustee-                U.S. Trustee-
 David G Delaplain        John F. Bracaglia, Jr.   Albert Russo            US Dept of Justice
 210 English Place        SAVO, SCHALK,            Standing Chapter 13     Office of the US
 Basking Ridge, NJ        Gillespie, O'Grodnick    Trustee                 Trustee
 07920                    & Fisher, P.A.           CN 4853                 One Newark Center
                          56 East Main Street      Trenton, NJ 08650       Ste 2100
 Joint Debtor             Suite 301                                        Newark, NJ 07102
 Laura Lee Delaplain      Somerville, NJ 08876
 fka Laura Lee Van
 Orman
 210 English Place
 Basking Ridge, NJ
 07920
                                                                                      19-12706-MBK
                                                                                           19-268080
                                                                                      Notice of Motion
Case 19-12706-KCF         Doc 30      Filed 01/28/20 Entered 01/28/20 14:08:06               Desc Main
                                     Document      Page 2 of 3




        PLEASE TAKE NOTICE that on February 26, 2020 at 9:00 a.m., or as soon thereafter as

counsel may be heard, RAS Crane LLC, attorneys for WILMINGTON SAVINGS FUND

SOCIETY, FSB, AS TRUSTEE OF STANWICH MORTGAGE LOAN TRUST C, the within

creditor ("Creditor"), shall move before the Honorable Judge Michael B. Kaplan, United States

Bankruptcy Judge, at 402 East State Street Trenton, N.J. 08608 Courtroom #8, for an Order

pursuant to 11 U.S.C. §362(d)(1) granting such Creditor relief from automatic stay and

Co-Debtor Stay pursuant to 11 U.S.C. §1301 (c) or, for costs and disbursements of this action,

and for such other and further relief as to the Court may seem just and proper.

        PLEASE TAKE FURTHER NOTICE that in support of the Motion, the undersigned shall

rely on the accompanying Certification in Support of Motion for Relief. A proposed form of

Order is also being submitted. A Memorandum of Law has not been submitted because the issues

raised by the Motion are not extraordinary or unusual necessitating the filing of legal briefs.

        PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief requested in the

Motion shall: (i) be in writing; (ii) specify with particularity the basis of the objection; and (iii) be

filed with the CLERK, UNITED STATES BANKRUPTCY COURT, Clarkson S. Fisher US

Courthouse 402 East State Street Trenton, NJ 08608, and simultaneously served on Secured

Creditor's counsel, RAS Crane LLC, 10700 Abbott’s Bridge Rd., Suite 170 Duluth, GA

30097, so as to be received no later than seven (7) days before the return date set forth herein.




                                                                                             19-12706-MBK
                                                                                                  19-268080
                                                                                             Notice of Motion
Case 19-12706-KCF       Doc 30     Filed 01/28/20 Entered 01/28/20 14:08:06              Desc Main
                                  Document      Page 3 of 3



       PLEASE TAKE FURTHER NOTICE that unless objections are timely filed and served,

the Motion shall be deemed uncontested in accordance with D.N.J. LBR 9013-1(a) and the relief

requested may be granted without a hearing.

       PLEASE TAKE FURTHER NOTICE that counsel hereby requests oral argument in

accordance with D.N.J. LBR 9013-1 (f) in the event opposition papers are timely filed.

 DATED: January 28, 2020
                                                  RAS Crane, LLC
                                                  Authorized Agent for Secured Creditor
                                                  10700 Abbott’s Bridge Rd., Suite 170
                                                  Duluth, GA 30097
                                                  Telephone: 973-575-0707
                                                  Facsimile: 973-404-8886
                                                   By: /s/ Aleisha C. Jennings ________
                                                  Aleisha C. Jennings, Esquire
                                                  Bar ID: 049302015
                                                  Email: ajennings@rasnj.com




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